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                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF TEXAS
                           FORT WORTH DIVISION


CYNTHIA JOHNSON                     §
                                    §
VS.                                 §        ACTION NO. 4:21-CV-158-Y
                                    §
STATE FARM LLOYDS                   §

           ORDER STRIKING AND UNFILING PLAINTIFF’S RESPONSE

      Before the Court are Plaintiff’s response to Defendant’s

motion for partial summary judgment and the response’s supporting

brief. (Doc. nos. 48, 49.) After consideration, the Court concludes

that both Plaintiff’s response and its supporting brief should be

stricken and unfiled due to their incomprehensible nature and

woefully    inadequate   presentation   of    arguments   to   the   Court.

Furthermore, Plaintiff’s counsel will be instructed to comply with

the instructions below.

      As Defendant points out in its reply, Plaintiff’s response is

riddled with inaccuracies and what appear to be “copies-and-

pastes” from other cases—so much so that it fails to address any

of Defendant’s arguments contained in its motion for partial

summary judgment. (See doc no. 53, at 2–3.) For example, the

response contains names of parties that are not present in this

case, references to evidence that is not in the record, and pure

legal conclusions about Defendant’s liability. It appears that
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Plaintiff’s counsel may have recycled the response from briefing

in Womack v. Meridian Security Insurance Company. See No. 4:21-

CV-00454, doc. no. 39, (N.D. Tex. Mar. 25, 2021) (O’Connor, J.).

Normally, it is not the province of this Court to intervene and

allow a party to correct its drafting shortcomings. But the Court

is reluctant to allow counsel’s apparent misfeasance to prejudice

a party seeking to have its day in federal court.

     Accordingly, Plaintiff’s response and its supporting brief

are STRICKEN from the record, and the clerk of the Court is

INSTRUCTED to UNFILE them. Plaintiff must refile her response to

Defendant’s motion for partial summary judgment within twenty-one

days of the entry of this order. In addition, Plaintiff’s counsel

shall present a copy of this order to Ms. Johnson and file an

affidavit indicating that she has been provided personal knowledge

of the Court’s order and the impropriety of her counsel’s papers

within fourteen days of the entry of this order. Defendant shall

have fourteen days after Plaintiff files her response to file a

reply.

     SIGNED November 23, 2022.

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                                        TERRY R. MEANS
                                        UNITED STATES DISTRICT JUDGE
